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 1   MICHAEL R. PANDULLO
     Nevada Bar No. 10707
 2   400 S. Fourth St. – Suite 500
     Las Vegas, Nevada 89101
 3   Telephone: (702) 580-4936
     Fax: (702) 405-0826
 4   Email: Michael@PandulloLaw.com
     Attorney for Defendant Curtis Pope
 5

 6                                UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEVADA
 7

 8   UNITED STATES OF AMERICA,                           Case No. 2:16-CR-070-GMN-VCF
 9                           Plaintiff,
                                                           STIPULATION TO ALLOW
     vs.                                                  DEFENDANT TO TRAVEL FOR
10                                                          WORK PURPOSES ONLY
     CURTIS POPE,
11
                             Defendant.
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13
            IT IS HEREBY STIPULATED AND AGREED, by and between DAYLE ELIESON,
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     United States Attorney, and DANIEL R. SCHIESS, Assistant United States Attorney, counsel
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     for Plaintiff the United States of America, and MICHAEL R. PANDULLO, ESQ., counsel for
16
     Defendant CURTIS POPE, that Mr. Pope be allowed open travel in the United States for work
17
     purposes only.
18
            This Stipulation is entered into for the following reasons:
19
            1.        Defendant is currently employed by New World Payments. His supervisor’s
20
                      name is Franklin Levy and his phone number is 702-403-0510.
21
            2.        Defendant’s Pretrial Services Officer’s name is Kadi Murray. Ms Murray’s
22
     phone number is 813-865-9412. Ms. Murray recommends Defendant be allowed open travel in
23
     the United States for work purposes only.
24
     ///
     ///

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           Case 2:16-cr-00070-GMN-VCF Document 61 Filed 08/06/18 Page 2 of 4



 1
           DATED this 30th day of July, 2018.
 2

 3
     BY:
 4     MICHAEL R. PANDULLO, ESQ.                    DAYLE ELIESON
                                                    UNITED STATES ATTORNEY
 5
                                                    DANIEL R. SCHIESS
 6                                                  ASSISTANT UNITED STATES ATTORNEY

 7       /s/ Michael R. Pandullo                        /s/ Daniel R. Schiess
       ______________________________               ______________________________
 8     MICHAEL R. PANDULLO, ESQ.                    DANIEL R. SCHIESS
       Attorney for Defendant Curtis Pope           Attorney for the United States
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           Case 2:16-cr-00070-GMN-VCF Document 61 Filed 08/06/18 Page 3 of 4



 1   MICHAEL R. PANDULLO
     Nevada Bar No. 10707
 2   400 S. Fourth St. – Suite 500
     Las Vegas, Nevada 89101
 3   Telephone: (702) 580-4936
     Fax: (702) 405-0826
 4   Email: michael.pandullo@gmail.com
     Attorney for Defendant Curtis Pope
 5

 6                             UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEVADA
 7

 8   UNITED STATES OF AMERICA,                      Case No. 2:16-CR-070-GMN-VCF
 9                        Plaintiff,
                                                              FINDINGS OF FACT
     vs.                                                         AND ORDER
10
     CURTIS POPE,
11
                          Defendant.
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14
                                        FINDINGS OF FACT
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            Based on the pending Stipulation of counsel, and good cause appearing therefore, the
16
     Court finds that:
17
            1.      1.     Defendant is currently employed by New World Payments. His
18
                    supervisor’s name is Franklin Levy and his phone number is 702-403-0510.
19
            2.      Defendant’s Pretrial Services Officer’s name is Kadi Murray. Ms Murray’s
20
     phone number is 813-865-9412. Ms. Murray recommends Defendant be allowed open travel in
21
     the United States for work purposes only.
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           Case 2:16-cr-00070-GMN-VCF Document 61 Filed 08/06/18 Page 4 of 4



 1                                           ORDER

 2          IT IS HEREBY ORDERED that Defendant Curtis Pope is allowed Open Travel in the

 3   United States for work purposes only.

 4

 5                        4
            DATED this ______          August 2018.
                              day of __________,

 6

 7                                           __________________________________
                                                ____________________________
 8                                              GloriaSTATES
                                             UNITED    M. Navarro,  Chief Judge
                                                               DISTRICT    JUDGE
                                                United States District Court
 9      Submitted by:

10          /s/ Michael R. Pandullo
        ______________________________
11      MICHAEL R. PANDULLO, ESQ.
        Attorney for Defendant Curtis Pope
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